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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )       8:04CR432
                       Plaintiff,                 )
                                                  )         ORDER
                vs.                               )
                                                  )
BRANDI DeSANTIAGO,                                )
                                                  )
                       Defendant.                 )


         Defendant’s motion to continue the plea hearing (Filing No. 77) is granted.

       IT IS ORDERED that the Change of Plea hearing is continued to May 3, 2005 at 1:00
p.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between April 20, 2005 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy
Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 20th day of April, 2005.
                                               BY THE COURT:
                                               s/Thomas D. Thalken
                                               United States Magistrate Judge
